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                                  TRIANGLE STOP FOOD STORES
                                          REABEN OIL COMPANY

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                                                                                                         FILED
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May 23,2019                                                                                         DISTRICT COURT E.D.N.Y.
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UNITED STATES DISTRICT COURT                                                                     RROnRI VM nnctnrr
EASTERN DISTRICT OF NEW YORK                                                                     D^\UU^LYIM OFFICE


In re PAYMENT CARD INTERCHANGE
FEE AND MERCHANT DISCOUNT                          :       No. 05-MD-01720 (MKB) (JO)
ANTITRUST LITIGATION                                       :



 STATEMENT OF OBJECTIONS OF CLASS MEMBER J.H. REABEN OIL & SUPPLY CO.. INC. AND FOUR
                                               SEASONS TRIANGLE. INC.


J.H. Reaben Oil & Supply Co., Inc. and Four Seasons Triangle, Inc. (hereinafter "Company") accepted Visa and
Mastercard transaction cards between 2004 and the present date. Company is a member of the Rule 23(b)(3) settlement
class in this case, and it has not engaged in any other settlement of its claims against Visa and/or Mastercard. Company
hereby submits its objections to the proposed settlement preliminarily approved by the Court in January of this year.

Company is located at the following locations:
Triangle   Stop #200 (Marathon Petroleum   121798) 701 N. Main Street, Hendersonville, NC 28792
Triangle   Stop #202 (Marathon Petroleum   121756) 1484 Ozone Drive, Saluda, NC 28773
Triangle   Stop #205 (Marathon Petroleum   121871) 3614 Hendersonville Hwy, Pisgah Forest, NC 28768
Triangle   Stop #208 (Marathon Petroleum   121772) 90 Rosman Hwy, Brevard, NC 28712
Triangle   Stop #209 (Marathon Petroleum   121889) 2545 Chimney Rock Hwy, Hendersonville, NC 28792
Triangle   Stop #214 (Marathon Petroleum   121921) 4499 Boylston Hwy., Mills River, NC 28759
Triangle   Stop #215 (Marathon Petroleum   121913) 754 Upward Road, Flat Rock, NC 28731
Triangle   Stop #216 (Marathon Petroleum   121905) 2400 Asheville Hwy, Hendersonville, NC 28791
Triangle   Stop #217 (Marathon Petroleum   121897) 1210 Asheville Hwy, Brevard, NC 28712
Triangle   Stop #220 (Marathon Petroleum   192591) 95 Terminal Drive, Fletcher, NC 28732

Triangle Stop #207 (Marathon Petroleum 121863) 1902 Haywood Road, Hendersonville, NC 28792 - this location was
sold on or about June 25,2013.
Triangle Stop #213 3950 Lynn Road, Tryon, NC 28782 - this location was sold on or about September 30,2004.

Company is a petroleum marketer engaged in the wholesale and retail sale of branded motor fuels. Since it was first
required by Texaco in probably the mid 1980's it has accepted Visa and Mastercard transaction cards at retail service
station and convenience store locations. Motor fuels at these locations have been sold under the Texaco brand from 2004-
2009 and then the Marathon brand since 2009, and the credit card transactions at each location were processed by the
applicable branded supplier.

Company is concerned that the Court will concur in the arguments of Defendants that certain major oil company branded
suppliers are entitled to file claims against the settlement fund for transactions at retail locations where Company accepted
the applicable Visa or Mastercard transaction cards and paid the interchange fees. Company understands that the Court
has indicated that class counsel cannot represent both the branded suppliers and branded marketers, like Company,
because only one of the two groups is entitled to settlement funds attributable to Company's retail locations. None of the
class representatives were branded marketers, and branded marketer interests were not represented when the settlement
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was negotiated. .Nor are they adequately represented now by a conflicted class counsel who are incapable of asserting
branded marketer interests when they conflict with the interests of major oil companies.

As of now, Company is totally in the dark as to whether, having accepted the cards and paid the interchange fees, it is part
of the settlement class, whether it is entitled to a full or partial recovery, or whether any mechanism is in place to sort all
of this out. Nothing in the Class Notice states whether Company or its branded supplier(whose fuel Company sells) have
a right to recover for transactions at these locations. In short. Company is concerned that it is being deprived of its legal
right to fully participate in the settlement.

In addition to not knowing what recovery Company may be entitled to as part of the class settlement, we do not believe
that proper efforts are being made to notify branded marketers, like Company, so that they can object to the settlement.
Although Company was sent a Class Notice from the Claims Administrator, other branded petroleum marketers have
received no notice even though they accepted the cards, and paid the fees, during the relevant period. The names and
addresses of branded petroleum marketers, like Company, can be obtained by the Claims Administrator from the branded
suppliers.

Branded marketers should be informed now whether a procedural mechanism will be put in place to determine whether,
and to what extent, branded marketers will participate in the settlement, what evidence they need to present, and whether
there will be procedural hurdles they need to overcome to claim their rights as class members. Unless and until these
issues are addressed and properly resolved by the Court, Company respectfully objects to the class settlement.

Respectfull3f^bmitted,



   lu Waddell
Vice President
J.H. Reaben Oil & Supply Co.,Inc. and Four Seasons Triangle, Inc.
